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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                              Plaintiff,

                                                                     Case #15-CR-6157-FPG-MWP
V.
                                                                        DECISION & ORDER


ROOSEVELT BROOKS, TERRENCE LEWIS,
and NA THANIEL IRVIN IV,
                              Defendants.


         Before the Court are motions to suppress tangible evidence by the three defendants in this

case.    ECF Nos. 49, 54, 58, 61.     This Court referred all pretrial motions to United States

Magistrate Judge Marian W. Payson pursuant to 28 U.S.C. § 636(b). ECF No. 32. Judge Payson

has issued a Report and Recommendation on the defendants' motions to suppress,

recommending that this Court deny the motions. ECF No. 74. One of the defendants, Roosevelt

Brooks, has filed Objections to the Rep01i and Recommendation, (ECF No. 80) and the

government has responded to those Objections (ECF No. 83).

                                         BACKGROUND

         The pending motions to suppress center on a police investigation in October 2015 of

activities at 24 Fem Street in Rochester, New York. The investigation ultimately resulted in the

discovery of heroin, guns, and ammunition during the execution of a search warrant for 24 Fem

Street on October 15, 2015. The three defendants have since been charged with drug-and-gun

related crimes, and they now move to suppress that tangible evidence seized during the execution

of the warrant.

         The following facts about the investigation are, unless otherwise stated, drawn directly
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from the search warrant or application for the search warrant. On October 1, 2015, Officer

Nolan Wengert of the Rochester Police Department was surveilling drug activity around two

neighboring houses, 14 Fern Street and 24 Fern Street.        ECF No. 49-2 at 5.      During this

surveillance, Wengert observed Tenence Lewis, one of the defendants in this case, walking from

the area of 14 Fern Street towards the porch area of 24 Fern Street. Id.      Lewis was arrested

shortly thereafter for possession of marijuana. 1 Id. Notably, Wengert also recovered 63 bags of

crack cocaine from a dryer vent behind 14 Fern Street (id.), which, based on an affidavit filed by

one of the defendant's counsel, Wengert saw Lewis depositing in the vent prior to the arrest

(ECF No. 49 at~ 7).

       Wengert's subsequent actions on October 1, 2015 form the basis of Brooks's pending

motion to suppress and Objections. Once Lewis was in custody, the defendants assert, and the

government appears to acknowledge, that Wengert entered 24 Fern Street without a warrant and

without consent of the occupants. ECF Nos. 49 at~ 7, 54 at 4, 63 at 7, 65 at 15 & n.2. Inside the

house, Wengert observed both a video system that monitored various sides and doors of the

house as well as planks of wood barricading the doors.         ECF No. 49-2 at 5.      Wengert's

observations of the video system and door barricades were set forth in the search warrant

application and, specifically, were used to justify the application's request for a "no-knock"

warrant. Id. at 7. Per the application, police requested "no-knock" authorization because the

occupants of 24 Fern Street would "utilize [the] surveillance cameras to detect law enforcement

persom1el" upon a knock on the door and be able to destroy evidence. Id.

       In the days following October 1, 2015, police made two controlled purchases of heroin

from 24 Fern Street using a confidential informant.     First, on October 9, 2015, while being


       The warrant application does not provide further detail about Wengert's pre-arrest
observations of Lewis.
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monitored by police, the confidential informant approached 24 Fern Street and met a man who

asked the informant if he wanted "hard." Id. at 6. The informant asked for six bags of heroin

and handed the man some money. Id. The man then went inside 24 Fern Street and came back

out with six bags of heroin. Id. At some point during the interaction, the man also brought the

informant across the street to an abandoned house and told the informant to, for any future

transactions, first ring the abandoned house's doorbell; occupants of 24 Fern Street would then

come out to complete the transaction. Id.

       The second controlled purchase took place on October 13, 2015, and the informant

essentially just followed the given instructions about how to make a purchase. Id. First, he rang

the doorbell at the house across the street from 24 Fern Street. Id. A man approached, talked to

the informant, and then went inside 24 Fern Street. Id. Another man then came out of 24 Fern

Street with a bundle in his pants pocket.     Id.   The informant handed over some money in

exchange for ten bags of heroin. Id.

       After the investigation on October 1, 2015 and the controlled purchases on October 9 and

October 13, 2015, officers applied for a search warrant on October 14, 2015. Id. at 7. Based on

the information described above, a state court judge issued a no-knock warrant for 24 Fern Street

the same day. ECF No. 49-2.

       Per the briefing on the motions to suppress, police executed the search warrant for 24

Fern Street on October 15, 2015. ECF No. 54 at 3. During the search, they recovered heroin,

guns, and ammunition on the property. Id. All three defendants were at the residence at the time

of the search, and they were arrested. Id.

          The defendants have now separately moved to suppress the tangible evidence

discovered during the execution of the search warrant. ECF Nos. 49, 54, 58, 61. Judge Payson

has recommended in her Report and Recommendation that this Court deny suppression of the

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tangible evidence. ECF No. 74.

                                          DISCUSSION

       Defendant Roosevelt Brooks has made specific objections to parts of the Report and

Recommendation. ECF No. 80. The Court conducts a de nova review of those parts and "may

accept, reject, or modify, in whole or in part, the findings or recommendations." See 28 U.S.C. §

636(b)(l)(C). By contrast, the Court simply adopts the parts of the Report and Recommendation

to which Brooks has not specifically objected. See Thomas v. Arn, 474 U.S. 140, 150 (1985).

Notably, the other two defendants in this case, Terrence Lewis and Nathaniel Irvin, have not

objected to the Report and Recommendation, so the Report and Recommendation is adopted as

against them.

       1. Fruit of the Poisonous Tree and Independent Source Doctrine

       Brooks's primary argument in both his Motion to Suppress and his Objections is

straightforward: Wengert' s warrantless search on October 1, 2015 tainted the evidence recovered

during the execution of the search warrant on October 15, 2015. ECF Nos. 54, 80. Per Brooks's

Objections, "all of the evidence in the warrant application comes as a direct result of the

observations that Wengert had during the October 1, 2015 search." ECF No. 80 at 2. Moreover,

Brooks argues that "[t]here is no evidence to show that [police] would have applied for the

search warrant of 24 Fern without the information that Wengert first gleaned from the warrant-

less search." Id. Accordingly, Brooks argues, the tangible evidence gathered during execution

of the warrant is fruit of a poisonous tree and must be suppressed.

       Judge Payson's view is that even given Wengert's unlawful 2 warrantless search, there


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       For purposes of the pending motions, the government does not contest the unlawfulness
of Wengert's warrantless search. ECF Nos. 63 at 7, 65 at 15 n.2. The govermnent has off-
handedly suggested in the briefing, however, that Wengert entered the house under exigent
circumstances, specifically, to investigate a burglary in process. Id.
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was an independent source for the evidence gathered on October 15, 2015. ECF No. 74 at 10-

17. Under the independent source doctrine, if a search pursuant to a warrant is "genuinely

independent" of an earlier, unlawful search, the evidence gathered during the warranted search

will not be suppressed. Murray v. United States, 487 U.S. 533, 542 (1988). More specifically,

for the government to show that evidence gathered during the execution of a search warrant is

independent from a previous unlawful search, it must establish the following: "(1) the warrant ..

. [is] supported by probable cause derived from sources independent of the illegal entry; and (2)

the decision to seek the warrant [was] not be prompted by information gleaned from the illegal

conduct." United States v. Johnson, 994 F.2d 980, 987 (2d Cir. 1993).

       Brooks objects to Judge Payson finding in favor of the government on both prongs.

       a.   Whether Probable Cause Existed Independently From the Illegal Entry

       Judge Payson found that that the first prong of the independent source doctrine was

satisfied, that is, she found that probable cause existed independently from the illegal entry. ECF

No. 74 at 12-13. In doing so, she excised from the warrant application the evidence gleaned

from Wengert's warrantless search. Id. at 11; United States v. Reilly, 76 F.3d 1271, 1282 (2d

Cir.), on reh 'g, 91 F.3d 331 (2d Cir. 1996) (observing that in determining whether the first prong

is satisfied, "a reviewing court should excise the tainted evidence and determine whether the

remaining, untainted evidence would provide a neutral magistrate with probable cause to issue a

warrant.") (internal quotations, alterations, and citations omitted).   She then found that even

without those excised portions, probable cause for a search still existed. Id. at 13. Notably,

probable cause for a search has been defined as a "a fair probability that contraband or evidence

of a crime will be found in a particular place." Illinois v. Gates, 462 U.S. 213, 214 (1983).

       Brooks's objection with regard to the first prong is relatively brief. He argues that "[t]he

October 1 warrant-less search marked the earliest time in the warrant application that the RPD

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was suspicious of anything at 24 Fern Street. There were mentions of subsequent controlled

purchases at 24 Fern in the warrant application, but these occurred after Officer Wengert's

search." ECF No. 80 at 2 (emphasis in original). "Thus," Brooks concludes, "all of the evidence

in the warrant application comes as a direct result of the observations that Wengert had during

the October 1, 2015 search." Id. In short, Brooks is arguing that because the warrantless search

was the first time police were suspicious of 24 Fern Street, all evidence recovered thereafter

came "as a direct result" of the warrantless search. Id.

          First, the Court notes briefly that, contrary to Brooks's description of the facts above, the

warrantless search did not "mark[] the earliest time" that police were suspicious of 24 Fern

Street.    Prior to searching the house, Wengert was, of course, already watching the house.

During this time, he watched Lewis walking between 14 Fern Street and 24 Fern Street and,

based on an affidavit filed by counsel for one of the defendants, saw Lewis depositing what

turned out to be 63 bags of crack cocaine behind 14 Fern Street. ECF No. 49 at~ 7. Lewis was

subsequently arrested, and only at that point did Wengert enter 24 Fern Street. Id. The key point

here is that, based simply on the timeline of events, it is clear that the discovery of the 63 bags of

crack cocaine did not derive from the warrantless search.

          Second, as a general matter, Brooks's argument appears to rest on a faulty assumption.

Brooks apparently assumes that simply because the unlawful search occurred before the

discovery of certain evidence-for instance, evidence relating to the two controlled purchases-

the unlawful search necessarily caused the discovery of that evidence. The entire point of the

independent source doctrine is that, occasionally, an unlawful search at the outset does not cause

the subsequent discovery of evidence.           In those circumstances-where evidence is later

discovered lawfully in a manner "independent" from the original unlawful search-the evidence

is admissible even though it vvas obtained after the unlawful search.

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       The facts of this case underscore the error in Brooks' s assumption that an unlawful search

necessarily causes, and therefore taints, all subsequent discoveries of evidence. In short, while

Wengert's warrantless search here was reprehensible, the fact is that it did not lead to much fruit

for purposes of probable cause. Wengert walked into 24 Fem Street on October 1, 2015 and

observed a video system and door barricades. These observations caused police to a request a

special kind of warrant where they did not have to knock on the door. It is not apparent how

these observations caused, however, police to discover the 63 bags of crack cocaine behind 14

Fem Street-once again, Wenge1i observed Defendant Lewis depositing these bags prior to even

entering 24 Fem Street. ECF No. 49 at ~ 7. It is also not apparent how these observations

caused police to recover the 16 bags of heroin during two controlled purchases a few days

afterwards-these purchases were likely conducted due to the substantial crack cocaine

discovery. 3 In shmi, the primary pieces of evidence described in the search warrant application

did not at all "derive[] from" Wengert's observations of a video system and barricades during the

warrantless search. Johnson, 994 F.2d 980, 987 (2d Cir. 1993).

       In sum, probable cause still existed in the warrant application even after excising the

evidence gleaned during Wengert's warrantless search. Here, such an edited warrant application

would still contain assertions regarding 63 bags crack cocaine found behind 14 Fem Street, a

controlled purchase for six bags of heroin from 24 Fem Street, and another controlled purchase

for ten bags of heroin from 24 Fem Street. Thus, even without Wengert's observations of the

video system and door barricades, there was probable cause-that is, a "fair probability"-that

evidence of a crime would be found at 24 Fem Street.


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       The Court further observes that none of the defendants, including Brooks, have moved to
suppress the evidence obtained from the two controlled purchases. It is unclear why, if the
defendants truly believe that the warrantless search led to the two controlled purchases, they did
not move to suppress the evidence obtained from these purchases.
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       For these reasons, the first prong of the independent source doctrine is satisfied.

       b. Whether the Decision to Seek a Warrant was Prompted by the Illegal Entry

       The second prong of the independent source doctrine requires that the officers' decision

to seek the warrant was not "prompted" by the unlawful search. United States v. Bonczek, 391 F.

App'x 21, 24 (2d Cir. 2010). In short, this prong looks at the officers' motivations in seeking the

warrant-was the warrantless search the catalyst for seeking the warrant? Judge Payson found

that, because the warrantless search was simply part of a preexisting or "ongoing" drug

investigation, officers would have sought the warrant even without the warrantless search and

thus the prong was satisfied. ECF No. 74 at 14.

        Brooks argues that the decision to seek the warrant was prompted by Wengert's search.

In support of this argument, he first takes issue with Judge Payson relying on information outside

of the warrant application in looking at the officers' motivations to seek the warrant. Here, the

Court observes that Judge Payson indeed briefly referenced some assertions outside of the

warrant application-found in both a defendant's and the government's motion papers-in

determining that the drug investigation was "ongoing" at the time of the warrantless search.

Specifically, she referenced that police received a tip at some point prior to October 1, 2015

about drug activity at 24 Fern Street (ECF No. 49 at~ 30) and that police had actually conducted

another controlled drug purchase from 24 Fern Street on August 14, 2015 (ECF No. 63 at n.2).

These assertions supported her ultimate conclusion that "the investigation of 24 Fern Street was

well underway before, and was not prompted by, Wengert's unlawful entry." ECF No. 74 at 14.

       In Brooks's words, his specific objection is that Judge Payson "went beyond the four

corners of [the] warrant application" in referencing these two assertions, and thus she reached

her conclusion on the basis of "factual evidence that is [not] before the Court." The Court

responds to this objection with a brief observation at the outset.      Brooks has not cited any

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authority for the idea that the Court may not look to assertions outside the warrant application in

determining the officers' motivations for seeking the warrant. That is telling. The first prong of

the independent source doctrine is concerned, of course, with the precise information in the

warrant application and whether some of that information needs to be excised. The second prong

is concerned with, more broadly, the officers' motivations in seeking the warrant. It makes

perfect sense that some of these motivations might exist outside of the warrant application-in

applying for a warrant, officers are concerned with demonstrating probable cause to a neutral

judge, not with setting forth their entire thought process in seeking the warrant.

       In any event, even if this Court were to restrict itself to the warrant application in looking

at the officers' motivations, it still agrees with Judge Payson that the investigation was "well

underway" before Wengert's unlawful entry. Once again, Wengert was already surveilling 24

Fern Street before the warrantless entry, and he had already observed Defendant Lewis walking

between 14 Fern Street and 24 Fern Street during this surveillance. Independently from the

illegal entry, Wengert later recovered 63 bags of crack cocaine from behind 14 Fern Street. On

these facts, it is apparent that references to information outside the warrant application were,

indeed, simply references; they were not at all necessary to the finding that the investigation was

underway before the illegal search.

       Finally, Brooks argues that 63 bags of crack cocaine discovered on October 1, 2015 could

not possibly have factored into the officers' decision to seek the search warrant for 24 Fern

Street-this is because this crack cocaine was discovered behind 14 Fern Street as opposed to 24

Fern Street. Thus, since "the circumstances of 14 Fern had nothing to do with 24 Fern," the real

reason police sought the warrant must have been Wengert's warrantless entry. ECF No. 80 at 3.

       The problem with this argument is that the circumstances of 14 Fern Street actually have .

quite a bit to do with 24 Fern Street. The two houses are next to each other and, based on the

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warrant application, Lewis was walking from 14 Fern Street to 24 Fern Street on October 1,

2015. ECF No. 49-2 at 5. The waiTant application is also clear that 14 Fern Street is a vacant

house. Id. Thus, the clear inference to be drawn from the application is that Lewis does not live

at 14 Fern Street, yet he clearly has some connection to both 14 Fern Street and 24 Fern Street.

Moreover, a possible question based on the application is whether Lewis resides at 24 Fern Street

yet uses 14 Fem Street for some other reason. In any event, it is Lewis-one of the defendants

in this case-who links the two houses together, and accordingly, links the crack cocaine found

behind 14 Fern Street to 24 Fern Street. For this reason, the Court does not accept the argument

that the discovery of crack cocaine behind 14 Fern Street could not have factored into police's

decision to seek the warrant for 24 Fern Street.

       In sum, the second prong of the independent source doctrine is satisfied. The warrantless

entry did not prompt the officers to seek the search warrant.

       2. No-Knock Authorization

       Brooks next makes a brief objection with regard to the no-knock authorization for the

warrant. Judge Payson found that even without Wengert's observations of the video system and

barricades during his warrantless search, the application still contained information sufficient to

justify no-knock authorization. ECF No. 74 at 17. Brooks argues, on the contrary, that "if

Wengert's October 1, 2015 search were excised from the search warrant, there would not be

enough information for a no-knock warrant to be issued." ECF No. 80 at 4.

       For purposes of suppression of evidence, this objection is irrelevant. Violations of the

knock-and-announce rule do not result in the suppression of evidence. See Hudson v. Michigan,

547 U.S. 586, 594 (2006). Thus, the Court declines to respond to Brooks's objection regarding

no-knock authorization for the warrant.



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       3. Standing, Overbreadth of Warrant, and Good-Faith Reliance on Warrant

       Finally, the Court briefly addresses the parts of the Report and Recommendation to which

no party has objected. Specifically, the government has not objected to Judge Payson's finding

that all three defendants possessed standing to challenge the search warrant for the house at 24

Fern Street. ECF No. 74 at 8. Additionally, none of the defendants have objected to Judge

Payson's finding that the warrant was not overbroad (id. at 18-21) and that the officers who

executed the search warrant relied on the warrant in good faith (id. at 21-22).

       The Comi adopts these parts of the Report and Recommendation. See Arn, 474 U.S. at

150. Thus, there is actually a separate reason why suppression of evidence is not justified in this

case: Under the good-faith exception to the exclusionary rule, even if the independent source

doctrine did not save the legitimacy of the warrant, the heroin, guns, and ammunition seized

during the warrant's execution would still not be suppressed because the officers relied on the

warrant in good faith. United States v. Leon, 468 U.S. 897, 918-23 (1984).

                                         CONCLUSION

       For the reasons above, the Report and Recommendation issued on May 2, 2016 (ECF No.

74) is ADOPTED IN ITS ENTIRETY. In sum, the motions to suppress by the three defendants

in this case (ECF Nos. 49, 54, 58, 61) are DENIED.



       IT IS SO ORDERED.

DATED:         July 7, 2016
               Rochester, New York




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